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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
RUBEN RAMIREZ,                                            :
                                                          :
                                         Plaintiff,       :
                                                          :          20-CV-9907 (VSB)
                           -against-                      :
                                                          :              ORDER
SAKE II JAPANESE RESTAURANT, INC., et :
al.,                                                      :
                                                          :
                                         Defendants. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        On October 6, 2021, after Defendants failed to appear in this action, and pursuant to

Plaintiff’s request, I entered an Order to Show Cause as to why default judgment against

Defendants should not be entered in this action. (Doc. 25.) As part of that order, Plaintiff was

directed to file proof of service of the Order to Show Cause by October 22, 2021. (Id.) That

deadline has passed, and Plaintiff has not filed proof of service.

        Accordingly, by October 29, 2021, Plaintiff is ORDERED to file proof of service as

required by the Order to Show Cause. If Plaintiff has not effected service as required by the

Order to Show Cause, Plaintiff must explain this failure and show that there is good cause to

extend the time to effect service within the meaning of Federal Rule of Civil Procedure 6(b).

        If Plaintiff fails to comply with this Order’s deadline of October 29, 2021, or otherwise

shows noncompliance with the Order to Show Cause, this case likely will be dismissed pursuant

to Federal Rule of Civil Procedure 41(b).
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SO ORDERED.

Dated:   October 25, 2021
         New York, New York            ________________________________
                                       VERNON S. BRODERICK
                                       United States District Judge
